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,) ovt0       \J.u~~LA.fCA..                                                       U.S. DISTRICT COWTI
       Plaintiff,
                                                           COMPLAINT
v.


                                                        Case: 2:15cv00608
                                                        Assigned To : Waddoups, Clark
                                                        Assign. Date : 8/26/2015
                                                        Description: Munguia v. Master Cleaning


       Defendant(s).




                                      A. JURISDICTION

This action is brought pursuant to Title VII of the Civil Rights Act of 1964 as amended, for
employment discrimination. Jurisdiction is specifically conferred on this Court by 42 U.S.C. §
2000e(5). Equitable and other relief are also sought under 42 U.S.C. § 2000e(5)(g). Jurisdiction is
also based on 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. §§ 1981 et seq. Where employment
discrimination based upon age is alleged, jurisdiction is conferred by 29 U.S.C. §§ 626(c)(l) and.
appropriate relief is also sought.


                                         B. PARTIES

1.     Name of plaintiff:
       Present mailing address:
            Case 2:15-cv-00608-CW Document 3 Filed 08/31/15 Page 2 of 7




2.    Name of first defendant:
      Present mailing address or
      business location:




3.    N arne of second defendant:
      Present mailing address or
      business location:




4.    Name of third defendant:
      Present mailing address or
      business location:




      (Use additional sheets if necessary.)


                                    C. NATURE OF CASE

1.     The address at which I sought employment or was employed by the defendant(s) is:




 2.


                                     (Month, Day, Year)

3.    I filed charges with the Anti Discrimination Division of the Utah State Industrial
      Commission regarding the defendant's discriminatory conduct on or about:

                              -
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4.     I filed charges with the Equal Employment Opportunity Commission regarding the
      defendant's discriminatory conduct on or abouf:

                                    ~Jo/!'1
                                     (Month, Day, Year)

5.    The Equal Employment Opportunity Commission sent the attached "Notice of Right to Sue"
      which I received on:
                                     o&L I 1 I          2-G is ·

      (Please attach the "Notice of Right to Sue" to this complaint.)


6.    The discriminatory acts that are the basis of this suit are:

              a. _ __         Failure to employ me
              b. _ __         Failure to promote me
              c.ve&           Termination of my employment
              d.t- - -        Demotion
              e.~~            Denied equal pay/work
              f. _ __         Sexual harassment
              g.   ye-s       General harassment
              h. _ __         Other acts (Be specific: Attach an additional sheet if necessary)




7.    Defendant's conduct is discriminatory with respect to:

              a.-xo           my race .               d. _ __        my religion
              b. _ __         my color                e.ye...S       my national origin
              c.)e.z.;        my sex                  f. _ __        my age


8.     I believe that the defendant is still committing these acts against me.

                   ~s                 no


                                    D. CAUSE OF ACTION

 1.    I allege that the defendant has discriminated against me and that th~ following facts form the
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                            ~OlY~'PYY\O_V\T V\Ut me calli~,
     basis for my allegations:Te vIV\ I VIC\"\'\ 0\'\ o¢   :em        9\o"j VM n-\-                •
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          \ \.{2)   Supportmg Facts: (tfescr!Q)i exactly w~~t each defundantldid or did not do. J-!



                                                                                     y
     b.     (1)     Countii:_.~l_ _ _ _ _ _ _ _ _ _ _ _ _ _ _P_~eJ~
            (2)     Supporting Facts:




                                          E. INJURY

1.   How have you been injured by the actions of the defendant(s)?




                                F. REQUEST FOR RELIEF

2.   I believe I am entitled to the following relief:
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                       DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is the plaintiff in the above action, that
he/she has read the above complaint and that the information contained therein is true and correct.
28 u.s.c. §1746; 18 u.s.c. § 1621.


Executed at_ _ _ _ _on
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